Case 1:18-cv-11970-ECR-AMD Document 199 Filed 06/15/20 Page 1 of 3 PageID: 3918




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


    THE HOMESOURCE, CORP.,                  Civil Action No.: 1:18-cv-11970

                        Plaintiff,          Hon. Eduardo C. Robreno

           v.                               DISCLOSURE STATEMENT

    RETAILER WEB SERVICES, LLC,
    et al.,

                        Defendants.


           The undersigned counsel for Defendant Retailer Web Services, LLC, certifies that

this party is a non-governmental corporate party and that this party does not have a parent

corporation, nor is there any publicly held corporation that owns 10% or more of this

party’s stock.1




1
  HomeSource’s initial complaint named Retailer Web Services, LLC (“RWS”) as the sole
defendant, even though Retailer Web Services II, LLC’s (“RWS II”) actions were
implicated by that pleading. RWS II previously responded in place of RWS because it was
the only defendant in that case; however, now that RWS II, the real party in interest, has
formally been named, RWS and RWS II respond separately. RWS II informed Plaintiff and
the Court of this corporate structure throughout the litigation, and further in declarations
filed at D.E. 134 and D.E. 140-1.


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Case 1:18-cv-11970-ECR-AMD Document 199 Filed 06/15/20 Page 2 of 3 PageID: 3919



 Dated: June 15, 2020                 Respectfully submitted,

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                                      LLC; Retailer Web Services, LLC; Nationwide
                                      Marketing Group, LLC




                                      2
Case 1:18-cv-11970-ECR-AMD Document 199 Filed 06/15/20 Page 3 of 3 PageID: 3920



                            CERTIFICATE OF SERVICE

      I hereby certify that I caused the foregoing document to be served on June 15, 2020

via the court’s ECF notification system on all counsel of record.



                                        /s/ Ethan Hougah
                                        Louis R. Moffa
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                                        Counsel for Defendant Retailer Web Services II, LLC;
                                        Retailer Web Services, LLC; Nationwide Marketing
                                        Group, LLC




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